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 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
12                          Respondent,                    Cr. No. S-10-0055 KJM
13          vs.
14   GONZALO SERRANO-VILLALOBOS,
15                          Movant.                        ORDER
16   ________________________________/
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18                  On July 24, 2014, this court issued an order denying movant’s amended motion
19   to vacate his sentence under 28 U.S.C. §2255. ECF No. 171. On September 18, 2014, movant
20   filed a notice of appeal and request for a certificate of appealability. ECF No. 183.1
21                  Under Rule 11(a) of the Rules Governing Section 2255 proceedings, a court
22   “must issue or deny a certificate of appealability when it enters a final order adverse to the
23   applicant.” A certificate should issue when the movant has “made a substantial showing of the
24   denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). This standard is met when
25   “reasonable jurists could debate whether (or, for that matter, agree that) the petition should
26   have been resolved in a different manner or that the issues presented were adequate to deserve
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       Because “one of the parties” to this action is the United States, “any party” may file a notice
28   of appeal within sixty days after the order appealed from.
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 1   encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (citation &
 2   internal quotation omitted).
 3                   Movant asks the court to issue the certificate on the claims that trial counsel was
 4   ineffective for failing to ensure the court made a relevant conduct finding and for failing to
 5   argue movant was subject to sentencing entrapment. For the reasons stated in the order of July
 6   24, movant has not made the required showing in this case.
 7                   IT IS THEREFORE ORDERED movant’s request for the issuance of a
 8   certificate of appealability is denied.
 9   DATED: September 30, 2014.
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                                                UNITED STATES DISTRICT JUDGE
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